STMT m Uma colsuiridrolam come (alt amnell mer-t-e-TateM tlt il (late

Debtor: VIKRAM SAGAR PASALA
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Eastern District of Michigan
Case number 24-44296

C) Check if this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

aa Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

W No. Go to Part 2.
C) Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

Q Single-family home the amount of any secured claims on Schedule D:

44, 27982 FIVE MILE RD Creditors Who Have Claims Secured by Property.

i-unit buildi
Street address, if available, or other description u COPA Gx Gn ang

LI Condominium or cooperative Current value of the Current value of the
C) Manufactured or mobile home entire property? portion you own?
Lang $ 30,000.00 ¢5 15,000.00
C1 investment property
LIVONIA MI 48154 () Timeshare Describe the nature of your ownership
City State ZIP Code O) other interest (such as fee simple, tenancy by

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

USA C) Debtor 4 only
County C) Debtor 2 only
UJ Debtor 1 and Debtor 2 only Q) Check if this is community property

ee j ti
wi At least one of the debtors and another ions Inswuctors)

Other information you wish to add about this item, such as local
property identification number:
If you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

QO Single-family home the amount of any secured claims on Schedule D:

42 27984 FIVE MILE RD Creditors Who Have Claims Secured by Property.

Street address, if available, or other description

C) Duplex or multi-unit building

C) Condominium or cooperative Current value of the Current value of the
() Manufactured or mobile home entire property? portion you own?
Land 5 30,000.00 15,000.00
Q) Investment property

LIVONIA MI 48154 O) Timeshare Describe the nature of your ownership

City State ZIP Code interest (such as fee simple, tenancy by
1 other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

C) Debtor 1 only

usa
County C) Debtor 2 only
C) Debtor 1 and Debtor 2 only C) Check if this is community property
Off At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number: BUSINESS PROPERTY
Official Form 106A/B Schedule A/B: Property page 1

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Debtor 1 VIKRAM SAGAR PASALA Case number (if known), 24-44296

First Name Middle Name Last Name

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
; fami the amount of any secured claims on Schedule D:
1.3. Sl Siagie-fanily home Creditors Who Have Claims Secured by Property.
Street address, if available, or other description Q Duplex or multi-unit building
CY Gondominiunvor cooperative Current value of the Current value of the
entire property? portion you own?
CY Manufactured or mobile home
() Land $ $
UJ Investment property
City State ZIP Code ~=(0 Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by
Q) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
U) Debtor 1 only
mney C) Debtor 2 only
OQ) Debtor 1 and Debtor 2 only Q) Check if this is community property
CJ At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 30,000.00
you have attached for Part 1. Write that number here. ...................0.c0ccccceceecuccecccueceseeseucuecucevevecasensussuseecaeeeenens > —

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

C} No
wi Yes
3.1, Make: Jaguar Who has an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: F Pace Q) Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2017 Q) Debtor 2 only c t val th c t val th
50000 — Q) Debtor 1 and Debtor 2 only entire pror i e portion niet ec
Approximate mileage: _V\*'' i At least one of the debtors and another ery a
Other information:
ee a 20,000.00 10,000.00
C) Check if this is community property (see 5 5
| instructions)
If you own or have more than one, describe here:
3.2. Make: Tesla Who has an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions. Put
Y a Debtor dont the amount of any secured claims on Schedule D:
Model: enon Nonly Creditors Who Have Claims Secured by Property.
Year: 2023 C) Debtor 2 only ¢
: cnn urrent value of the Current value of the

C) Debtor 1 and Debtor 2 only

Approximate mileage: 10000 (CI At least one of the debtors and another amie property? portion you oer?
Other information: 40.000.00 40.000.00
f_ OO T C) Check if this is community property (see § - - $ —_——
Driven by daughter | instructions)
Official Form 106A/B Schedule A/B: Property page 2

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Who has an interest in the property? Check one.

Debtor 1 VIKRAM SAGAR PASALA
First Name Middle Name Last Name
3.3. Make: Audi
Model: Q5 C) Debtor 4 only
. 2016 C) Debtor 2 only
1 30000 CQ) Debtor 1 and Debtor 2 only

Approximate mileage:

Other information:

Driven by daughter |

3.4. Make: Rover
Model: Evoque
Year: 2017

15000

Approximate mileage:

Other information:

| Driven by wife
| _|

(QZ At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Debtor 1 only

CY Debtor 2 only

() Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

C) Check if this is community property (see
instructions)

Case number (iinown_ 24-44296

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$20,000.00 5 10,000.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

5 22,000.00 , — 22,000.00

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

C} No
QC) Yes

4.1. Make:
Model:

Year:

Other information:

If you own or have more than one, list here:

42. Make:
Model:

Year:

Other information:

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

24-44296-mar

Who has an interest in the property? Check one.
(2 Debtor 4 only

CY Debtor 2 only

LC} Debtor 1 and Debtor 2 only

(CY At least one of the debtors and another

(2 Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Q) Debtor 1 only

C) Debtor 2 only

() Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

s___ 82,000.00

page 3

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Debtor 1 VIKRAM SAGAR PASALA Case number (if known) 24-44296

First Name Middle Name Last Name

es Describe Your Personal and Household Items

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
WI No
CI Yes. Describe......... All furniture owned by wife $ 0.00

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

QO) No
\ Yes. Describe......... Televisions and computers $ 1,000.00

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
Wd No

QI Yes. Describe.......... $

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

W No
LJ Yes. Describe.......... 5

10. Firearms
Examples; Pistols, rifles, shotguns, ammunition, and related equipment

W No
LL) Yes. Describe.......... $

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

C) No
W Yes. Describe.......... $ 700.00

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
CL) No

W Yes. Describe........... $ 1 ,000.00

13.Non-farm animals
Examples: Dogs, cats, birds, horses

W No
C) Yes. Describe.........., $

14. Any other personal and household items you did not already list, including any health aids you did not list

(A No
L) Yes. Give specific
information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached s 2 700.00

for Part 3. Write that number here oo... occ cccccscssssscssssvssssssssssvessssscssvecessesesssecsarssesasesssuessssesstassssanssssessssessisssesessssveseaveseese >

Official Form 106A/B Schedule A/B: Property page 4

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Debtor 1 VIKRAM SAGAR PASALA Case number (if known) 24-44296

First Name Middle Name Last Name
ea Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
C} No
YW YOS oie cece ceces cesses seseesucesssevarsvevaversusstisesusuvevasassvanevevsesseavasavavusevsteetesssevavasessnavessesevsvevesuevevecevegecesevevavevevees Cash: o.oo. ccc $ 200.00
17.Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
U2 No
DD Ves oe Institution name:
17.1. Checking account: $ 200.00
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
YW No
OD Yes oc Institution or issuer name:
$
$
$.
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
W No Name of entity: % of ownership:
C) Yes. Give specific 0% %
information about
them... eee 0% %
0% %
Official Form 106A/B Schedule A/B: Property page 5

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Debtor 1 VIKRAM SAGAR PASALA Case number (itknown) 2444296

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

LI No

C1 Yes. Give specific Issuer name:
information about

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

W No

C) Yes. List each

account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

4 No

CY YVe8 ooo cccccccccceceen Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other:
$
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
YW No
CD VES ccc Issuer name and description:
$.
$
Official Form 106A/B Schedule A/B: Property page 6

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Debtor1 VIKRAM SAGAR PASALA Case number (irknown 24-44296

First Name Middle Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

wi No
CD Ves ices

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

W No

L) Yes. Give specific
information about them.... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

W No

U) Yes. Give specific
information about them.... $

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Wi No

C) Yes. Give specific
information about them.... $

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

W No

OQ) Yes. Give specific information Federal: $
about them, including whether
you already filed the returns State: $

id th 4. sessuneasevesveueusous
an e tax years Local: S

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

W No

Q) Yes. Give specific information..............

Alimony: $
Maintenance: $
Support: $
Divorce settlement: $.
Property settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
Wi No
QC) Yes. Give specific information............... 5
Official Form 106A/B Schedule A/B: Property page 7

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Debtor 1 VIKRAM SAGAR PASALA Case number (if known) 24-44296

First Name Middle Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

W No

C) Yes. Name the insurance company

Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ..

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

(4 No

C) Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

a No

() Yes. Describe each claim. 0.0.0.0...

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

W No

C) Yes. Describe each claim. 0.0.0.0...

35. Any financial assets you did not already list

W No

C) Yes. Give specific information............ $

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number here $ 400.00

GEE vescrine Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
C) No. Go to Part 6.
W Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned

W No
C) Yes. Describe.......

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

W No
() Yes. Describe... $

Official Form 106A/B Schedule A/B: Property page 8

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Debtor 1 VIKRAM SAGAR PASALA Case number (irknown 24-44296

First Name Middle Name Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

W No

C} Yes. Deseribe....... $

41. Inventory

Wd No
Q) Yes. Deseribe........ $

42. Interests in partnerships or joint ventures

Wi No

C) Yes. Desecribe.......

Name of entity: % of ownership:
% $
%
% $

43. Customer lists, mailing lists, or other compilations
dl No
Q) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
C) No
CQ) Yes. Describe........

44. Any business-related property you did not already list
Wd No
CI Yes. Give specific

information .........

fr FF Ff FF HF

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

for Part 5. Write that mummber Mere o.oo... ccc ccccccecseecssesssecsvecssvessvesssesssesssverssscsssssuvsnsesstetesusssiesasesaneseseestuessnesssetasiesscesesesesseee >

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
W No. Go to Part 7.
C) Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

Wd No

Official Form 106A/B Schedule A/B: Property page 9

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Debtor 1 VIKRAM SAGAR PASALA Case number irinowm_24-44296

First Name Middle Name Last Name

48. Crops—either growing or harvested

W No

C) Yes. Give specific
information. ............

No

51. Any farm- and commercial fishing-related property you did not already list
W No

QC) Yes. Give specific |
information. ............

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number Mere o.oo ccceccccces ceceessssseessevssesssssvsvvesssessecsssuesevssessessssussesssevecessvsssssiussesisusessssisesessveseesasecee >

SAN Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Wi No

Cl Yes. Give specific |
information. ............

54. Add the dollar value of all of your entries from Part 7. Write that number here o.oo... ccc cece cccccccscccsceseesescsessesseeseceeeseeeee >

eee ise the Totals of Each Part of this Form

55. Part 1: Total real estate, ime 2 ooo occ cee ccccccsssesssccssecssecessscssesssecssucesssssseseressaiesvesesessessipsstussssssesisivesussitvsstecsstesiypiviseseciseestaseseeeece => ¢___ 30,000.00
56. Part 2: Total vehicles, line 5 s___ 82,000.00

57. Part 3: Total personal and household items, line 15 $ 2,700.00

58. Part 4: Total financial assets, line 36 $ 400.00

59. Part 5: Total business-related property, line 45 $

60. Part 6: Total farm- and fishing-related property, line 52 $

61. Part 7: Total other property not listed, line 54 +s

62. Total personal property. Add lines 56 through 61, ..........0.00.. $ 85,100.00 Copy personal property total 3 *$ 85,100.00

63. Total of all property on Schedule A/B. Add line 55 + line G2.......c.ccccccesccesccscecscsesescscsvsescasssacscscessvansuseasvevevavseaeevscseaeeee

Official Form 106A/B Schedule A/B: Property

A

115,100.00

page 10

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